         Case 5:16-cv-00350 Document 17 Filed in TXSD on 04/12/17 Page 1 of 2



                                    IN THE UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                              LAREDO DIVISION

JOSE M. HOLGUIN                                                   §                     CIVIL ACTION NO.
          Plaintiff,                                              §
vs.                                                               §                               5:16-cv-350
                                                                  §
STATE FARM LLOYDS                                                 §
AND RICARDO ALVARADO                                              §
         Defendants                                               §                     JURY REQUESTED

                                                     NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

           NOW COMES Defendant, State Farm Lloyds, who hereby notifies the Court that

Plaintiff Jose M. Holguin and Defendants State Farm Lloyds and Ricardo Alvarado have settled

Plaintiff’s claims and causes of action against Defendants in this lawsuit. Defendants will

provide a Release and Stipulation of Dismissal to Plaintiff.

                                                            Respectfully submitted,

                                                            ORTIZ & BATIS, P.C.

                                                            By:    /s/ Ray R. Ortiz
                                                                   Ray R. Ortiz
                                                                   State Bar No. 15324280
                                                                   Southern District of Texas No. 14026
                                                                   Leslie Megin Koch
                                                                   State Bar No. 00794109
                                                                   Southern District of Texas No. 19546
                                                            10100 Reunion Place, Suite 600
                                                            San Antonio, Texas 78216
                                                            Telephone: (210) 344-3900
                                                            Facsimile: (210) 366-4301
                                                            ray@ob-lawpc.com
                                                            megin@ob-lawpc.com
                                                            rrosupport@ob-lawpc.com
                                                            ATTORNEYS FOR DEFENDANTS,
                                                            STATE FARM LLOYDS AND
                                                            RICARDO ALVARADO




F:\RRO\314-250\Pleadings\Notice of Settlement.docx
     Case 5:16-cv-00350 Document 17 Filed in TXSD on 04/12/17 Page 2 of 2



                              CERTIFICATE OF SERVICE

       On the 12th day of April, 2017, the foregoing document was served in compliance with
the Federal Rules of Civil Procedure to the following:

      Robert A. Pollom
      State Bar No. 24041703
      Federal Bar No. 249539
      Jake Rogiers
      State Bar No. 24069066
      Federal Bar No. 2478454
      KETTERMAN ROWLAND & WESTLUND
      16500 San Pedro, Suite 302
      San Antonio, TX 78232
      robert@krwlawyers.com
      jake@krwlawyers.com



                                          /s/ Ray R. Ortiz
                                         Ray R. Ortiz/Leslie Megin Koch
